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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SHAWN MICHAEL MUNKIRS,

               Plaintiff,

                                v.                                        CASE NO. 20-3317-SAC

ANDREW COUNTY SHERIFF’S
OFFICE, et al.,

               Defendants.

                               MEMORANDUM AND ORDER

       Plaintiff Shawn Michael Munkirs brings this pro se civil rights action under 42 U.S.C.

§ 1983. Although Plaintiff is currently housed at the Wyandotte County Adult Detention Center

in Kansas City, Kansas, the claims in his Complaint are based on events occurring during his

detention at the Andrew County Jail in Savannah, Missouri. The Complaint identifies the

defendants as the Andrew County Sheriff’s Office, staff at the Andrew County Sheriff’s Office,

and staff at the Andrew County Jail. Plaintiff’s claims are based on the alleged denial of his right

to freely practice his religion while housed at the Andrew County Jail.

       The Andrew County Jail is located in Savannah, Missouri. Under 28 U.S.C. § 1391(b):

               A civil action may be brought in –

               (1) a judicial district in which any defendant resides, if all
               defendants are residents of the State in which the district is located;

               (2) a judicial district in which a substantial part of the events or
               omissions giving rise to the claim occurred, or a substantial part of
               property that is the subject of the action is situated . . .

28 U.S.C. § 1391(b)(1)–(2).




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       Accordingly, venue is proper in Missouri under 28 U.S.C. § 1391(b). The Court directs

the Clerk of the Court to transfer this matter to the United States District Court for the Western

District of Missouri.

       IT IS THEREFORE ORDERED BY THE COURT that the Clerk of Court shall transfer

this action to the United States District Court for the Western District of Missouri.

       IT IS SO ORDERED.

       Dated December 30, 2020, in Topeka, Kansas.



                                              s/ Sam A. Crow
                                              Sam A. Crow
                                              U.S. Senior District Judge




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